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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

VICKIE AUBREY and                                                                         PLAINTIFFS
HAMZA ALMARZOOQ

v.                                     No. 4:17CV00446 JLH

ZAMAM, LLC; and SYED HUSSAIN                                                           DEFENDANTS

                                               ORDER

        The motion for leave to withdraw as counsel filed by Abtin Mehdizadegan and Joseph M.

Kraska of Cross, Gunter, Witherspoon & Galchus, P.C., is GRANTED, subject to the last paragraph

of this Order. Document #33. The defendants’ third motion for extension of time to respond to the

plaintiffs’ discovery requests and for an amended final scheduling order is GRANTED IN PART and

DENIED IN PART. Document #35.

        The Court hereby orders the defendants to have new lawyers enter an appearance to represent

them in this action on or before September 21, 2018.1 The Court hereby orders the defendants to

respond to the plaintiffs’ discovery requests on or before September 21, 2018. Failure to comply

with these orders may result in a default judgment being entered against the defendants. If the

defendants fail to respond to the discovery requests by September 21, 2018, the plaintiffs should file

a motion for sanctions stating that the defendants have not complied.

        The Court hereby orders Abtin Mehdizadegan and Joseph M. Kraska to provide a copy of

this Order to the defendants at their last known address and to file a certificate of service stating the

date on which and the manner in which this Order was served on the defendants. After the certificate




        1
         Syed Hussain may choose to represent himself, provided he complies with Local Rule
5.5(c). Zamam, LLC, however, must be represented by a lawyer.
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of service is filed, Cross, Gunter, Witherspoon & Galchus, P.C., are relieved as counsel for the

defendants and have no further obligation to represent them in this action.

       IT IS SO ORDERED this 30th day of August, 2018.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE




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